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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 9:18-CV-80443-ROSENBERG/REINHART


  AFFORDABLE AERIAL
  PHOTOGRAPHY, INC.,

        Plaintiff,

  SOTHEBY’S INTERNATIONAL
  REALTY, INC. and PATRICIA
  MAHANEY,

        Defendants.
  __________________________________/


                  DEFENDANTS’ ANSWER TO COMPLAINT AND
           JURY DEMAND OF SOTHEBY’S INTERNATIONAL REALTY, INC.
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         Defendants SOTHEBY’S INTERNATIONAL REALTY, INC. ("SIR") and

  PATRICIA MAHANEY (“Mahaney”), by and through their undersigned counsel, answer the

  Complaint filed by AFFORDABLE AERIAL PHOTOGRAPHY, INC. (“AAP”) as follows.

  The numbered paragraphs below correspond to the numbered paragraphs in the Complaint.

  All allegations in the Complaint not otherwise specifically admitted or denied are hereby

  denied.

                                            COMPLAINT

         Defendants admit that this purports to be an action for damages. Defendants deny

  the remaining allegations of the unnumbered introductory paragraph in the Complaint.

                                      NATURE OF ACTION

         1.      Defendants admit that Plaintiff purports to obtain redress for Defendants’

  alleged acts of copyright infringement in a photograph that Plaintiff allegedly owns.

  Defendants deny the remaining allegations of paragraph 1.

         2.      Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 2, and on that basis, deny the allegations.

         3.      Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 3, and on that basis, deny the allegations.

         4.      Defendants deny the allegations in paragraph 4.

         5.      Defendants deny the allegations of paragraph 5.

         6.      Defendants admit that Plaintiff purports to seek actual damages, profits

  attributable to the alleged infringement, or, in the alternative, statutory damages for the alleged

  infringement and for the alleged removal of Plaintiff’s copyright management information.

  Defendants deny the remaining allegations of paragraph 6.




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                                   JURISDICTION AND VENUE

         7.      Defendants admit that Plaintiff purports to state a claim for damages for

  copyright infringement under the Copyright Act, 17 U.S.C. § 101 et seq. Defendants deny

  the remaining allegations of paragraph 7.

         8.      Paragraph 8 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 8.

         9.      Paragraph 9 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 9.

         10.     Paragraph 10 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 10.

                                            THE PARTIES

         11.     Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 11, and on that basis, deny the allegations.

         12.     SIR admits the allegations of paragraph 12.           Mahaney lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations in paragraph 12, and on that

  basis, denies the allegations.

         13.     Defendants admit that Mahaney is an independent contractor real estate agent for

  SIR licensed in the State of Florida. Mahaney admits that she specializes in the luxury residential

  sector in Palm Beach, Florida and that she maintains an address at 419 Seaspray Avenue, Palm

  Beach, Florida, 33480. SIR lacks knowledge or information sufficient to form a belief as to the

  truth of the remaining allegations in paragraph 13, and on that basis, denies the allegations.

  Mahaney denies the remaining allegations of paragraph 13.

         14.     Defendants admit that SIR has served as broker for Mahaney. Defendants deny the




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  remaining allegations of paragraph 14.

         15.     Paragraph 15 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations in paragraph 15.

         16.     Paragraph 16 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 16.

         17.     Paragraph 17 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 17.

                                    FACTUAL ALLEGATIONS

         18.     Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 18, and on that basis, deny the allegations.

         19.     Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 19, and on that basis, denies the allegations.

         20.     Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 20, and on that basis, denies the allegations.

         21.     Defendants admit that Plaintiff purports to state claims based on the image shown

  in paragraph 21.

         22.     Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 22, and on that basis, denies the allegations.

         23.     Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegation that “In or around March 2016, it came to AAP’s attention that Defendants and/or

  their agents copied, displayed and distributed the Work on a Sotheby’s real estate listing.”

  Defendants admit that the image shown in Exhibit 2 to the Complaint was used in connection with

  a SIR real estate listing prior to March 2016. Defendants admit that Mahaney was listed as the




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  real estate agent for a listing that used the image shown in Exhibit 2 to the Complaint. Defendants

  deny the remaining allegations in paragraph 23.

         24.      Defendants deny the allegations in paragraph 24.

         25.      Defendants deny the allegations in paragraph 25.

         26.      Paragraph 26 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 26.

                                              COUNT I

                    COPYRIGHT INFRINGEMENT AGAINST MAHANEY

         27.      Defendants incorporate their responses to paragraphs 1 through 26 as if fully set

  forth herein.

         28.      Paragraph 28 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 28.

         29.      Paragraph 29 states legal conclusions to which no response is required. To

  the extent any response is required, Defendants deny the allegations of paragraph 29.

         30.      Paragraph 30 states legal conclusions to which no response is required. To

  the extent any response is required, Defendants deny the allegations of paragraph 30.

         31.      Paragraph 31 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 31.

                                              COUNT II

                  VICARIOUS COPYRIGHT INFRINGEMENT AGAINST SIR

         32.      Defendants incorporate their responses to paragraphs 1 through 31 as if fully set

  forth herein.

         33.      Defendants lack knowledge or information sufficient to form a belief as to the truth




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  of the allegations in paragraph 33, and on that basis, deny the allegations.

         34.       Defendants lack knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 34, and on that basis, deny the allegations.

         35.       SIR lacks knowledge or information sufficient to form a belief as to the truth of the

  allegations in paragraph 35, and on that basis, denies the allegations. Mahaney denies the

  allegations in paragraph 35.

         36.       Paragraph 36 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 36.

         37.       Paragraph 37 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 37.

         38.       Paragraph 38 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 38.

         39.       Paragraph 39 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 39.

                                            COUNT II [SIC]

                  REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION

                                        AGAINST MAHANEY

         40.       Defendants incorporate their responses to paragraphs 1 through 39 as if fully set

  forth herein.

         41.       Paragraph 41 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 41.

         42.       Paragraph 42 states legal conclusions to which no response is required. To the

  extent any response is required, Defendants deny the allegations of paragraph 42.




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                                       PRAYER FOR RELIEF

         In response to Plaintiff’s Prayer for Relief, Defendants deny that Plaintiff is entitled to any

  relief. Defendants respectfully request that the Court:

         1.      Deny all forms of relief requested in Plaintiff’s Prayer for Relief;

         2.      Award Defendants their costs and attorneys’ fees pursuant to 17 U.S.C. § 505; and

         3.      Award such other and further relief as the Court deems just and proper.

                                    AFFIRMATIVE DEFENSES

         Without assuming any burdens that it would not otherwise bear, Defendants assert the

  following affirmative defenses. These defenses incorporate by reference the foregoing answers to

  the allegations of the Complaint as if fully set forth herein.

                                 FIRST AFFIRMATIVE DEFENSE

         The Complaint fails to state a claim upon which relief may be granted.

                               SECOND AFFIRMATIVE DEFENSE

         Neither SIR nor its users nor Mahaney have infringed, contributed to the infringement , or

  induced infringement of any copyright owned by Plaintiff.

                                THIRD AFFIRMATIVE DEFENSE

         Defendants did not commit infringement because they were licensed to reproduce and

  display the asserted work.

                               FOURTH AFFIRMATIVE DEFENSE

         Plaintiff will not suffer irreparable harm from the denial of the relief he seeks.

                                 FIFTH AFFIRMATIVE DEFENSE

         Plaintiff has not suffered damage based on any action by SIR or its users or Mahaney.




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                                SIXTH AFFIRMATIVE DEFENSE

         Defendants hereby reserve the right to rely upon any additional defenses that may be

  revealed or discovered during the pendency of this case.

                                  SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff is not entitled to statutory damages and attorneys’ fees, because, to the extent that

  infringement has occurred, it preceded the effective date of Plaintiff’s copyright registration.

                                   EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims against SIR are barred in whole or in part by the Digital Millennium

  Copyright Act.


         Respectfully submitted this April 17, 2018.


                                                        s/ Robert H. Thornburg
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                                                        Counsel for Defendants




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                                     Certificate of Service

          I HEREBY CERTIFY that on June 6, 2018, I presented the foregoing to the Clerk of the
  Court for uploading to the Case Management/Electronic Case Files (“CM/ECF”) System, which
  will send a Notice of Electronic Filing to Counsel of Record:

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                                                    s/ Robert H. Thornburg
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